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                     8                                  UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                     Debtors and Debtors in
                    15               Possession.
                          SCOOBEEZ, INC.,                                             Adv. No. 2:19-ap-01456-WB
                    16
                                           Plaintiff                                  AMAZON LOGISTICS, INC.’S
                    17                                                                EVIDENTIARY OBJECTIONS RE
                                   v.                                                 MOTION FOR PRELIMINARY
                    18                                                                INJUNCTION
                          AMAZON LOGISTICS, INC.,
                    19                                                                  Date:        November 18, 2019
                                           Defendant.                                   Time:        10:00 a.m.
                    20                                                                  Place.:      United States Bankruptcy Court
                                                                                                     Edward Roybal Federal Building
                    21                                                                               255 E Temple St., Ctrm 1375
                                                                                                     Los Angeles CA 90012
                    22

                    23             Pursuant to the provisions of Local Rule 9013-1(i)(2), Defendant, Amazon Logistics, Inc.,

                    24    (“Amazon Logistics”), respectfully submits the following evidentiary objections to the

                    25    declarations submitted by Plaintiff, Scoobeez, Inc. in support of its motion for a preliminary

                    26    injunction herein and requests that the Court strike the following portions of those declarations:

                    27    1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                          Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                    28    Boulevard, in Glendale, California 91214.
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 BOCKIUS LLP             DB2/ 37769498.1
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                     1                                       Declaration of Brian Weiss

                     2                                       (Docket No. 2, pages 22-23)

                     3            Objected to Portion of Declaration                        Basis of Objection
                     4     ¶ 9 “… Amazon knowingly allowed the                Fed.R.Evid. 602: There is no foundation that
                     5     Debtors to proceed with a sale process that        Mr. Weiss has personal knowledge as to
                     6     was based, at least in part, on an expectation     Amazon’s state of mind regarding the
                     7     of ongoing business with Amazon.”                  Debtors’ sale process.
                     8                                    Declaration of George Voskanian
                     9                                       (Docket No. 2, pages 24-25)
                    10            Objected to Portion of Declaration                        Basis of Objection
                    11     ¶ 7 “Some employees have raised the issue          Fed.R.Evid. 602 and 802: To the extent that
                    12     that Amazon employees are directly saying          this statement is being offered to prove the
                    13     that Scoobeez is on its way out, therefore,        content of communications by Amazon
                    14     routes will be shaved off overtime (sic).”         employees, there is no foundation that Mr.
                    15                                                        Voskanian has personal knowledge as to the
                    16                                                        content of those communications. As a result,
                    17                                                        the statement is inadmissible hearsay.
                    18                                    Declaration of George Voskanian
                    19                                        Docket No. 21, pages 6-7)
                    20            Objected to Portion of Declaration                        Basis of Objection
                    21     ¶ 8 “On a number of occasions, Scoobeez            Fed.R.Evid. 602 and 802: To the extent that
                    22     employees have reported being told by              this statement is being offered to prove the
                    23     Amazon employees that Scoobeez routes are          content of communications by Amazon
                    24     being reduced.”                                    employees, there is no foundation that Mr.
                    25                                                        Voskanian has personal knowledge as to the
                    26                                                        content of those communications. As a result,
                    27                                                        the statement is inadmissible hearsay.
                    28
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                     1
                          Dated: November 11, 2019                 MORGAN, LEWIS & BOCKIUS LLP
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                     3
                                                                   By:   /s/ Richard W. Esterkin
                     4                                                       Richard W. Esterkin

                     5                                                     Attorneys for Amazon Logistics, Inc.

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                                                         CERTIFICATE       OF SERVICE FORM

                      2                                      FOR ELECTRONIC          FILINGS

                      3             I hereby certify that on November 11, 2019, I electronically filed the foregoing document,

                      4    Amazon Logistics, Inc.'s Evidentiary      Objections re: Motion For Preliminary       Injunction

                      5    with the Clerk of the United States Bankruptcy Court, Central District of California, Los Angeles

                      6    Division, using the CM/ECF     system, which will send notification of such filing to those parties

                      7    registered to receive notice on this matter.

                      8

                      9
                                                                          Renee Robles
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